
652 S.E.2d 645 (2007)
In the Matter of J.S.B., D.K.B., D.D.J., Z.A.T.J., Minor Children.
appealed by Respondent Mother.
No. 269P07.
Supreme Court of North Carolina.
October 11, 2007.
K. Edward Greene, Tobias S. Hampson, Raleigh, for Mother.
Twyla George, Gastonia, Tyrone C. Wade, Charlotte, for Mecklenburg County DSS.
Jeannie Brown, Pili Fleming, Charlotte, for Guardian ad Litem.
Prior report: ___ N.C.App. ___, 644 S.E.2d 580.

ORDER
Upon consideration of the petition filed by Respondent (Mother) on the 7th day of June 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
Upon consideration of the petition filed on the 19th day of June 2007 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
